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          15
                                              UNITED STATES DISTRICT COURT
          16
                                           NORTHERN DISTRICT OF CALIFORNIA
          17
                                                  SAN FRANCISCO DIVISION
          18

          19
                 DOE,                                           Case No. 3:22-cv-04680-WHO
          20
                                     Plaintiff,                 DEFENDANT META PLATFORMS, INC.’S
          21                                                    RESPONSE TO DOE PLAINTIFFS’
                         v.                                     MOTION TO CONSOLIDATE
          22
                 META PLATFORMS, INC.,                          Action Filed: August 15, 2022
          23
                                     Defendant.                 Honorable Judge William H. Orrick
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Gibson, Dunn &
Crutcher LLP
                  DEFENDANT META PLATFORMS, INC.’S RESPONSE TO DOE PLAINTIFFS’ MOTION TO CONSOLIDATE
                                              CASE NO. 3:22-CV-04680-WHO
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1           On August 30, 2022, Plaintiffs filed a motion to consolidate this case with two other related
2    cases: John Doe v. Meta Platforms, Inc., Case No. 3:22-cv-03580, and Jane Doe v. Meta Platforms,
3    Inc., Case No. 3:22-cv-04293-WHO. Dkt. 21. Plaintiffs argue these cases should be consolidated
4    under Rule 42(a) because all three actions are based upon similar facts and legal theories, and Meta
5    Platforms, Inc. (“Meta”) is a defendant in each case. Id.
6           Given the overlapping factual allegations and legal theories in these cases, Meta does not
7    oppose consolidation of this case with John Doe and Jane Doe. Consolidation of these actions would
8    promote judicial efficiency and prevent inconsistent results. Fed. R. Civ. P. 42(a). Meta notes,
9    however, that one of the cases (Jane Doe) also names UCSF Medical Center and Dignity Health
10   Medical Foundation as defendants, and Meta’s interests may be distinct from those of the healthcare
11   defendants.
12

13   Dated: September 13, 2022                    GIBSON, DUNN & CRUTCHER LLP
14                                                By: /s/ Lauren Goldman
                                                      Lauren Goldman
15
                                                  COOLEY LLP
16
                                                  By: /s/ Michael G. Rhodes
17                                                    Michael G. Rhodes
18
                                                  Attorneys for Meta Platforms, Inc. (formerly known as
19
                                                  Facebook, Inc.)
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       DEFENDANT META PLATFORMS, INC.’S RESPONSE TO DOE PLAINTIFFS’ MOTION TO CONSOLIDATE
                                    CASE 3:22-CV-04680-WHO
           Case 3:22-cv-04680-WHO Document 27 Filed 09/13/22 Page 3 of 5


1                                                PROOF OF SERVICE
2           I, Kelly Ding, declare as follows:
3            I am employed in the County of San Francisco, State of California; I am over the age of
4    eighteen years and am not a party to this action; my business address is 555 Mission Street, Suite
     3000, San Francisco, California 94105, in said County and State. On September 13, 2022, I served
5    the following document(s):

6           DEFENDANT META PLATFORMS, INC.’S RESPONSE TO DOE PLAINTIFFS’
            MOTION TO CONSOLIDATE
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     On the parties stated below:
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23    Attorneys for Plaintiff Doe (Case No. 3:22-cv-04680)
24    By the following means of service:
25
           BY ELECTRONIC TRANSFER TO THE CM/ECF SYSTEM: On this date, I
26          electronically uploaded a true and correct copy in Adobe “pdf” format the above-listed
            document(s) to the United States District Court’s Case Management and Electronic Case Filing
27          (CM/ECF) system. After the electronic filing of a document, service is deemed complete upon
            receipt of the Notice of Electronic Filing (“NEF”) by the registered CM/ECF users.
28

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       DEFENDANT META PLATFORMS, INC.’S RESPONSE TO DOE PLAINTIFFS’ MOTION TO CONSOLIDATE
                                   CASE NO. 3:22-CV-04680-WHO
          Case 3:22-cv-04680-WHO Document 27 Filed 09/13/22 Page 4 of 5


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                                  CASE NO. 3:22-CV-04680-WHO
          Case 3:22-cv-04680-WHO Document 27 Filed 09/13/22 Page 5 of 5


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15   Attorneys for Plaintiff Jane Doe (Case No. 3:22-cv-04293)

16   By the following means of service:
17        BY ELECTRONIC SERVICE: On the above-mentioned date, I caused the documents to be
           sent to the persons at the electronic service addresses listed above.
18

19        (FEDERAL) I declare under penalty of perjury that the foregoing is true and correct.
20

21         Executed on September 13, 2022
                                                          /s/ Kelly Ding
22                                                            Kelly Ding
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      DEFENDANT META PLATFORMS, INC.’S RESPONSE TO DOE PLAINTIFFS’ MOTION TO CONSOLIDATE
                                  CASE NO. 3:22-CV-04680-WHO
